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                               UNITED STATES DISTRICT COURT
                                MIDDLE DISTRICT OF FLORIDA
                                      TAMPA DIVISION

      UNITED STATES OF AMERICA,

                     Plaintiff,

      v.                                             Case No. 8:94-cr-293-T-17TBM

      AN THANH LE,

                     Defendant.
                                             /


                                                 ORDER

                     THIS MATTER is before the court upon referral from the District Judge

      on Defendant’s Motion for Order to Determine Competency. (Doc. 645).

                     There being reasonable grounds to believe the Defendant may presently

      suffer from a mental disease or defect rendering him mentally incompetent to proceed on

      allegations that he has violated the conditions of his supervised release, the Defendant’s

      Motion for Order to Determine Competency (Doc. 645) is GRANTED. The court

      hereby appoints, Dr. Donald Taylor, to conduct an independent psychiatric examination.

      The court requests Dr. Taylor complete the examination and file a report with this court

      within thirty (30) days of the date of this Order.

                     Upon completion of the examination, Dr. Taylor is requested to provide to

      the court a report detailing the Defendant's history and present symptoms; a description

      of psychiatric or psychological medical tests employed in the examination; his findings

      and opinions as to whether or not the Defendant is suffering from a mental disease or

      defect rendering him mentally incompetent to proceed, in that he is unable to understand
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      the nature and consequences of the proceedings against him or to assist properly in

      his/her defense.

                     Upon receipt of the report, either party may request a further hearing.

                     Done and Ordered in Tampa, Florida this 22nd day of March 2006.




      Copies furnished to:
      Honorable Elizabeth A. Kovachevich
      Stephen Muldrow, Assistant United States Attorney
      Attorney for Defendant
      Dr. Donald Taylor




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